             Case 1:19-cv-02753-RCL Document 9 Filed 04/09/20 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
CITIZENS FOR RESPONSIBILITY                )
AND ETHICS IN WASHINGTON, et al.,          )
                                           ) Civil Action No. 19-2753
      Plaintiffs,                          )
                                           )
      v.                                   )
                                           )
FEDERAL ELECTION COMMISSION                )
                                           )
      Defendant.                           )
                                           )

ENTRY OF DEFAULT JUDGMENT AGAINST FEDERAL ELECTION COMMISSION

       The defendant Federal Election Commission (“FEC”), having failed to plead or otherwise

defend in this action, and its default having been entered,

       Now upon the application of the plaintiffs, Citizens for Responsibility and Ethics in

Washington (“CREW”) and Noah Bookbinder (collectively “Plaintiffs”), a declaration from

attorney Laura C. Beckerman and supporting exhibits demonstrating, by a claim or right to relief

by evidence that satisfies the Court, that the FEC’s failure to act on the administrative complaints

identified as MUR 7422 is contrary to law, that the FEC is not an infant or incompetent person or

in the military service of the United States, and that the Plaintiffs have incurred court costs in the

amount of $400, as defined by 28 U.S.C. § 1920,

       It is here by ORDERED, ADJUDGED, AND DECREED that defendant FEC’s failure

to act on the Plaintiffs’ administrative complaints, MUR 7422, is contrary to law in violation of

52 U.S.C. § 30109(a)(8)(C), that defendant FEC is directed to conform with this declaration
        90
within 30 days, and that Plaintiffs shall recover from the defendant $400 in court costs, pursuant
          Case 1:19-cv-02753-RCL Document 9 Filed 04/09/20 Page 2 of 2



to 28 U.S.C. § 1920.

       SO ORDERED, ADJUDGED, AND DECREED



                                                  /s/ Royce. C. Lamberth
Dated: ___________________
        04/09/2020                              ______________________
                                                Hon. Royce C. Lamberth
                                                U.S. District Court Judge




                                       2
